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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  LYLE YELLETS,

                Plaintiff,

   v.                                               Civil Action No.: 1:22-cv-00156-LPS

  GEORGE GU, CRAIG KNIGHT, ERIK
  ANDERSON, ELAINE WONG, DENNIS
  EDWARDS, MARK GORDON, IVY
  BROWN, KI DEOK PARK, PETER
  HASKOPOULOS, VIKTOR MENG,
  JENNIFER AAKER, JANE KEARNS,
  PIERRE LAPEYRE, JR., DAVID
  LEUSCHEN, JIM MCDERMOTT, JEFFERY
  TEPPER, ROBERT TICHIO, and MICHAEL
  WARREN,

                Defendants,

                        and

  HYZON MOTORS INC. f/k/a
  DECARBONIZATION PLUS
  ACQUISITION CORPORATION,

               Nominal Defendant.



               STIPULATION AND [PROPOSED] ORDER STAYING CASE

        Plaintiff Lyle Yellets (“Yellets” or “Plaintiff”), who brings claims derivatively on behalf

of Nominal Defendant Hyzon Motors, Inc. (“Hyzon”) f/k/a Decarbonization Plus Acquisition

Corporation (“DCRB”), by and through his counsel, and Defendants (defined below), by and

through their counsel, hereby stipulate to the following:

        WHEREAS, on February 2, 2022, Plaintiff filed a complaint asserting claims on behalf

of Hyzon against Defendants George Gu, Craig Knight, Erik Anderson, Elaine Wong, Dennis
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Edwards, Mark Gordon, Ivy Brown, Ki Deok Park, Peter Haskopoulos, Viktor Meng, Jennifer

Aaker, Jane Kearns, Pierre Lapeyre, Jr., David Leuschen, Jim McDermott, Jeffery Tepper, Robert

Tichio, and Michael Warren (collectively, the “Individual Defendants,” and together with

Hyzon, the “Defendants;” Defendants together with “Plaintiff” are the “Parties”), who are certain

current and former executive officers and directors of Hyzon or DCRB, captioned Yellets v. Gu,

et al., Case No. 1:22-cv-00156-LPS (D. Del.) (the “Derivative Action”);

       WHEREAS, there is substantial overlap between the facts and circumstances alleged in

the Derivative Action and a related putative class action captioned In re Hyzon Motors Inc.

Securities Litigation, Case No. 6:21-cv-06612 (W.D.N.Y.) (the “Securities Action”) ;

       WHEREAS, Hyzon, Erik Anderson, Peter Haskopoulos, Craig Knight and Mark Gordon,

defendants in the Derivative Action, also are defendants in the Securities Action;

       WHEREAS, certain relief requested in the Derivative Action may be affected by the

outcome of the Securities Action, and the outcome of the Securities Action may inform the

manner in which the Derivative Action proceeds;

       WHEREAS, given the circumstances of the Derivative Action, in the interests of judicial

efficiency, and to preserve the Parties’ and the Court’s resources, the Parties agree that it is

appropriate to stay the Derivative Action until the Court in the Securities Action rules on an

anticipated motion to dismiss the amended complaint in the Securities Action; and

       WHEREAS, this stipulation is not a waiver of any of the Parties’ rights, remedies, claims,

or defenses.

       WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate,

and respectfully request that the Court enter an order as follows:

       1.        Defendant Hyzon hereby accepts service of the complaint filed in the Derivative
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Action.

          2.     All proceedings and deadlines in the Derivative Action shall be temporarily

stayed until such date that the Court enters an order that grants or denies in part or full defendants’

anticipated motion to dismiss in the related Securities Action.

          3.     Notwithstanding this stay, the Individual Defendants may accept service and/or

Plaintiffs may effect service on them. The undersigned counsel for Hyzon represent that they are

in the process of formalizing and documenting acceptance of service on behalf of Individual

Defendants.

          4.     Defendants shall not be required to move, or otherwise respond, to the complaint

in the Derivative Action during the pendency of the stay.

          5.     Defendants shall promptly notify Plaintiff of any related derivative actions or

threatened derivative actions against Hyzon, including any demands under Section 220 of the

Delaware General Corporation Law Section (a “Section 220 Demand”), or litigation demands.

          6.     Defendants shall provide Plaintiff with reasonable advance notice of and an

opportunity to participate in any planned mediation or formal settlement discussions with

plaintiffs in the Securities Action, and/or any related derivative actions or threatened derivative

actions.

          7.     Subject to agreement on an appropriate confidentiality agreement or protective

order, Hyzon shall promptly produce to Plaintiff any documents produced to a stockholder who

makes a Section 220 Demand.

          8.     Within fourteen days of the expiration of this stay, the Parties shall meet and

confer and submit a joint status report to the Court.

          9.     This stipulation is without waiver or prejudice to any and all claims, defenses,
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arguments, motions, or any requests for other relief that would otherwise be available to the

Parties in the Derivative Action, except for objections to insufficient process or insufficient

service of process.

       IT IS SO STIPULATED.




                                            Respectfully Submitted By:

DATED: February 22, 2022                    RIGRODSKY LAW, P.A.

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DATED: February 22, 2022             RICHARDS, LAYTON & FINGER, P.A.

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                                     Hyzon Motors, Inc.



SO ORDERED this _______________ day of ________________, 2022

                                                    ______________________________
                                                        The Honorable Leonard P. Stark




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